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Attorney for Lynn Ferrell Smith


                             UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,           )                 Case No. 2:12-cr-00255-GEB
                                    )
                  Plaintiff,        )                 STIPULATION AND PROPOSED
                                    )                 ORDER CONTINUING JUDGMENT
     v.                             )                 AND SENTENCING
                                    )
LYNN FERRELL SMITH,                 )
                                    )
                  Defendant.        )
____________________________________)

        With the Court’s permission, plaintiff United States of America, by and through its
counsel, Assistant United States Attorney Richard Bender, and defendant Lynn Smith, by and
through his attorney, William J. Portanova, hereby stipulate that the date of defendant’s
sentencing, now set for July 19, 2013 at 9:00 a.m. be continued to September 27, 2013, at 9:00
a.m.
        This continuance is necessary so to allow Pre-Trial Services additional time to prepare
its pre-sentence report and to allow this Court to sentence all co-defendants at this sentencing
hearing. This hearing date has been previously set by co-defendant Matthew Davies.
        The following proposed sentencing schedule is offered:
        Judgment and Sentencing Date:                        September 27, 2013.
        Reply, or Statement of Non-Opposition:               September 20, 2013.
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                       Motion for Correction of Pre-Sentence Report:        September 13, 2013.
                       Pre Sentence Report shall be Filed with the
                       Court and Disclosed to Counsel:                      September 6, 2013.

                       Counsel’s Written Objections to the Pre-
                       Sentence Report shall be Delivered to the
                       Probation Officer and Opposing Counsel:              August 30, 2013.
                       Pre-Sentence Report Disclosed to Counsel:            August 23, 2013.


                       IT IS SO STIPULATED.


Dated: July 15, 2013                                                 /s/ William J. Portanova
                                                                     _____________________________
                                                                     WILLIAM J. PORTANOVA
                                                                     Attorney for Lynn Ferrell Smith


Dated: July 15, 2013                                                 /s/ Richard J. Bender
                                                                     _____________________________
                                                                     RICHARD J. BENDER
                                                                     Supv. Assistant United States Attorney



                       IT IS SO ORDERED.


Date: 7/18/2013




                                                       ___________________________________
                                                       GARLAND E. BURRELL, JR.
                                                       Senior United States District Judge

DEAC_Signature-END:




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